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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 In Re:                                          Case No. 22-30369-lkg

 Crystal E. Cochran
                                                 Chapter 13
  aka Crystal Elizabeth Cochran

 Debtors.                                        Hon. Judge Laura K. Grandy

                                CERTIFICATE OF SERVICE

        Attached is a courtesy copy for your records of the Proof of Claim which was entered in
the case herein.

       The undersigned certifies that this document was served electronically through the
Court’s electronic mailing system pursuant to the notice generated by the Court on November
21, 2022 to the following parties:

TO TRUSTEE: Russell C. Simon at simontrustee@yahoo.com
TO DEBTOR’S COUNSEL: John J Johnston at johnjohnston@dixonjohnston.com

       The Notice of Creditor Change of Address was further serviced by mailing, postage
prepaid in the United States Mail, using first-class postage to the following parties:

          TO DEBTOR: Crystal E. Cochran, at 16 Linden Drive, Shiloh, IL 62221

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (OH 0083702)
                                                 Sottile & Barile, Attorneys at Law
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                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
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